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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
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  UNITED STATES OF AMERICA,
                                                               11 CR 30 (KAM)

                -against-                                      SENTENCING
                                                               MEMORANDUM

  ALI JUSEINOSKI
                                Defendant.
  ---------------------------------------------------------x

         The defendant ALI JUSEINOSKI, through his attorney, John S.
  Wallenstein, Esq., respectfully submits this memorandum in connection with
  his sentencing after his plea of guilty. The defendant entered a guilty plea to
  Count One of the Indictment, charging him with participating in a racketeering
  conspiracy. Specifically, the defendant pled guilty to Racketeering Acts 29 and
  35, Marijuana Distribution and Extortionate Collection of Credit, respectively.
  Mr. Juseinoski pleaded guilty pursuant to a plea agreement, and thereby
  spared the government the time, expense and effort of preparing for trial, and
  actually trying the case.


                       OBJECTIONS TO THE PRESENTENCE REPORT
         The defendant has been provided with a copy of the PSR and has
  reviewed it. Counsel has reviewed the PSR with the defendant in detail. The
  defendant indicates that the PSR accurately reflects his personal history and
  characteristics, and therefore, the defense has no objections to the PreSentence
  Report in that respect. However, the defense respectfully objects to certain
  Guideline calculations as determined by the Probation Department. Under
  separate cover, an objection letter has been filed and served upon the
  Probation Department and the Government. A copy of that letter is submitted
  herewith as Exhibit A, and the details thereof are respectfully incorporated
  herein by reference.


         It must be noted that the Government, in a letter memorandum dated
  November 25, 2011, also objects to the Probation Department’s Guideline
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  calculation. The Government also agrees to, and moves for, an additional two
  level reduction for “global disposition” points. The defense agrees with the
  Government’s analysis, and respectfully urges the Court to determine the
  Adjusted Offense Level to be Level 15. In Criminal History Category I (which is
  uncontested), the appropriate Advisory Guideline range is 18-24 months.




                       FACTORS TO BE APPLIED IN SENTENCING
        In determining the sentence to be imposed upon the defendant, this
  Court is required to consider the factors enumerated in 18 U.S.C. § 3553(a).
  The mandate of the statute is clear, and requires the court to impose a
  sentence which is “sufficient, but not greater than necessary” to accomplish
  the purposes of the sentencing scheme laid out by Congress in subdivision 2 of
  §3553(a).


        18 U.S.C. § 3553(a)(2)(A) requires the Court to impose a sentence which
  reflects the seriousness of the offense, promotes respect for the law, and
  provides just punishment for the offense. It is clear that the crimes which Mr.
  Juseinoski has been convicted of are serious offenses, which require
  punishment. However, this factor is only one of those required to be considered
  in determining the sentence. Moreover, “just” punishment is a sentence crafted
  to the individual defendant, taking into consideration all of the factors of
  §3553(a). The defendant is a citizen of the United States, has been a hard
  working individual, the father of 3 children, and who comes from a supportive
  family.     Submitted under separate cover are letters from members of the
  defendant’s family, in his support.


        The circumstances of the offense are significant in the sentencing
  analysis, of course. However, the defendant was a minor participant in the
  racketeering conspiracy, as the government notes. The full details of the
  defendant’s participation are described in the PSR, and need not be repeated at
  length here. Briefly, he engaged in negotiations for the sale and transportation
  of a quantity of marijuana, but ultimately the deal was not consummated. The
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  extortionate extension of credit resulted in the victim’s car being returned to
  him, long before the defendant’s arrest in this case.


         The most significant factors under § 3553(a) which the Court must
  consider are the defendant’s history and characteristics. Mr. Juseinoski is a
  man with a 9th grade education, who never obtained a GED. He has struggled
  to provide support for his family, especially since he is disabled as a result of a
  workplace accident. He performs some work for a family business, but the
  tasks are relatively menial and he receives little remuneration for his efforts. He
  relies to a great degree upon the largess of his family and friends.


        The sentence must adequately deter future criminal conduct, as required
  by § 3553(a)(2)(B), and consider the need to protect the public from future
  crimes of this defendant, 18 U.S.C. § 3553(a)(2)(C). Mr. Juseinoski has
  certainly learned a significant lesson from this experience, and while he has
  engaged in criminal behavior in the past (marijuana distribution), it is highly
  unlikely that this conduct will be repeated. The defendant is well aware of the
  consequences of returning to his previous activities, and has expressed a
  strong desire to simply remain with his family and continue to support them as
  best he can. The objective of deterrence has therefore been achieved by the
  arrest, conviction and sentencing of Mr. Juseinoski, whether that sentence is
  custodial or not.      Since deterrence of the defendant is achieved, the
  concomitant result is that the valid sentencing objective of protection of the
  public from future activities is likewise satisfied, as the defendant will
  concentrate on providing for his family and raising his children in a legitimate
  manner.
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                                  CONCLUSION
              It is respectfully submitted that a sentence of probation, perhaps
  with a community service component, will be sufficient, but not greater than
  necessary, to accomplish the goals of sentencing as prescribed by Congress.
  However, if the Court is inclined to impose a sentence of incarceration, it is
  respectfully suggested that a sentence of one year and one day would be
  appropriate and sufficient.




                                            Respectfully submitted,

                                            John S. Wallenstein
                                            JOHN S. WALLENSTEIN
  JSW/hs
